             Case 4:22-cv-00302-RH-MAF Document 112-39 Filed 11/18/22 Page 1 of 3


 From:         Newman,    Ryan [Ryan.Newman@eog.myflorida.com]
 Sent:         6/30/2022      9:05:55 PM
To:            Uthmeier, James [James. Uthmeier@eog.myflorida.com]
 Subject:      FW: WMNF: With Florida’s          new   abortion law set to go into   effect,   a   local state   attorney has vowed   not to   prosecute
               abortion



FYSA


Ryan D. Newman
General Counsel
Office of Governor Ron DeSantis
(850) 717-9368

From: Pratt, Joshua <Joshua.Pratt@eog.myflorida.com>
Sent: Thursday, June 30, 2022 9:00 PM
To: Newman, Ryan <Ryan.Newman@eog.myflorida.com>; Furino, Maureen                        <Maureen.Furino@eog.myflorida.com>;
Treadwell, Ray <Ray.Treadwell@eog.myflorida.com>; Smith,                  Susan   <Susan.Smith@eog.MyFlorida.com>
Subject: Re: WMNF: With        Florida’s      new   abortion law set to go into   effect,      a   local state   attorney has vowed     not to
prosecute abortion
Thanks. Here's   a   copyof   the   letter:   https://fairandjustprosecution.org/wp-content/uploads/2022/06/FJP-Post-Dobbs-
Abortion-Joint-Statement.pdf

Joshua E. Pratt
Deputy General Counsel
Executive Office of the Governor
850-717-9267


*Please note that Florida has       a   broad   public records law and correspondence sent to me, which is not confidential or
exempt pursuant to chapter 119 of the             Florida Statutes, is a public record made available upon request.*

From: Newman, Ryan <Ryan.Newman@eog.myflorida.com>
Sent: Thursday, June 30, 2022 8:54:55 PM
To: Furino, Maureen <Maureen.Furino@eog.myflorida.com>; Treadwell, Ray <Ray.Treadwell@eog.myflorida.com>;
Pratt, Joshua <Joshua.Pratt@eog.myflorida.com>; Smith, Susan <Susan.Smith@eog.MyFlorida.com>
Subject: FW: WMNF: With Florida’s new abortion law set to go into effect, a local state attorney has vowed not to
prosecute abortion

All,

Please take of this. Let’s discuss next week.


Ryan D. Newman
General Counsel                                                                                                                           4:22-cv-302-RH-MAF
Office of Governor Ron DeSantis
                                                                                                                                               JOINT EX
(850) 717-9368

From: Keefe, Larry <Larry.Keefe@eog.myflorida.com>
                                                                                                                                                  52
Sent: Thursday, June 30, 2022 1:14 PM
To: Newman, Ryan <Ryan.Newman@eog.myflorida.com>;                       Keefe, Larry <Larry.Keefe@eog.myflorida.com>



                                                                                                                                                DEF 000926
                                                                                                                                                 JEX 52.001
               Case 4:22-cv-00302-RH-MAF Document 112-39 Filed 11/18/22 Page 2 of 3

Subject: Fwd: WMNF: With           Florida’s    new   abortion law set to go into       effect,   a   local state   attorney has vowed   not to
prosecute abortion



Sent from my Verizon, Samsung             Galaxy smartphone
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From: News Alerts <NewsAlerts@eog.myflorida.com>
Sent: Thursday, June 30, 2022 12:21:23 PM
Subject: WMNF: With Florida’s new abortion law set to go into                    effect,   a   local state   attorney has vowed   not to   prosecute
abortion

With Florida’s     new   abortion law set to go into      effect,   a   local state   attorney has vowed        not to   prosecute abortion
WMNF
McKenna Schueler
June    30, 2022

With the   Supreme Court’s reversal of Roe v. Wade and                  Florida’s 15-week abortion ban set to take effect this
week,   Hillsborough County State Attorney Andrew Warren has joined dozens of prosecutors nationwide who say they
will not press charges against people who seek, facilitate, or provide abortion care.

“When | became a state attorney, | put my hand on the Bible, and |                     swore     to defend the U.S. and Florida constitutions.
And | intend to do so,” Warren told WMNF on Wednesday.

A strict abortion law in Florida
Abortion is still   legal in              law further restricting abortion is set to go into effect July 1st. That law, signed
                               Florida. But   a new

by Republican Governor Ron DeSantis in April, “doesn’t protect public safety,” Warren said. “It potentially criminalizes
private medical decisions made between a woman and her doctor, and it’s criminalizing not just the mothers, but the
doctors and the nurses, and potentially the receptionists and administrators who scheduled the procedure.”


Following the US Supreme Court’s reversal on the landmark 1973 Roe v. Wade decision, Warren joined over 80
prosecutors nationwide on Friday in signing a joint statement, vowing not to prosecute abortions. While several more
have signed on since, Warren remains the only elected prosecutor in the state of Florida to sign onto the pledge,
organized by Just and Fair Prosecution.
“Not all of us agree on a personal or moral level on the issue of abortion,” the group wrote. “But we stand together in
our firm belief that prosecutors have a responsibility to refrain from using limited criminal legal system resources to
criminalize personal medical decisions.”

As of Wednesday       afternoon,     89   prosecutors from
                                                    blue and red states across the country    from Georgia, to Texas,
                                                                                                                    —




Missouri, New York and California had signed onto the statement. After the fall of Roe v. Wade, over a dozen states
                                            —




(not including Florida) had so-called “trigger laws” on the books, crafted to ban abortion after the end to constitutional
abortion protections. Some bans are now facing legal challenges.

‘It’s unconstitutional on its face’
Florida’s new abortion law is also being challenged in court. A lawsuit, filed by the American Civil Liberties Union,
Planned Parenthood of America, and the Center for Reproductive Rights is attempting to block the law. Plaintiffs say it
violates a privacy clause in Florida’s state constitution that’s been interpreted to include the right to abortion.

State Attorney Warren agreed. “It’s unconstitutional on its face,” he told WMNF. “Roe may have been overturned by the
Supreme Court last week but that doesn’t impact Florida because Florida, unlike the U.S. Constitution, has an express
privacy right in our constitution that protects abortion. It’s been there for the past 42 years, and the Supreme Court has



                                                                                                                                              DEF 000927
                                                                                                                                              JEX 52.002
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consistently and clearly and    accurately interpreted that right to be as strong as possible in protecting our privacy and our
fundamental freedom.”

A South Florida synagogue has also sued Florida     over   its   new   abortion   law, saying it violates   religious freedoms and the
privacy clause in Florida’s state constitution.
As Politico   reports, thousands of people
                                        have traveled to Florida for abortions from states that have stricter abortion
laws, like Georgia and Alabama. But the U.S. Supreme Court ruling, and Florida’s 15-week abortion limit, could change
that. “Florida’s 15-week ban would have devastating effects on abortion access in the state and surrounding region,” the
ACLU, one of the groups challenging the law in court, wrote in a statement.

Currently, abortion in Florida is legal up to 24 weeks of pregnancy. The vast majority of abortions performed in Florida
are in the first trimester. Last year, there were 4,850 second-trimester abortions performed in the state of Florida out of

nearly 80,000 total, according to a report from the state Agency for Health Care Administration.
Advocates for abortion rights say any restrictions on abortion access is an attack on bodily autonomy and human rights.
Andrea Mercado of Florida Rising, a nonprofit that organizes around racial and economic justice issues, told WMNF that
an attack on abortion rights is a class issue, as well as one of reproductive justice. “We know that it’s poor and low-

income people who are working multiple jobs to pay the rent and put food on the table and get shoes for their kids that
won’t afford to book a flight to New York to access an abortion.”


Nearly 60% of abortions in the United States are obtained by people with children. Sixty percent are in their twenties,
and 49% live below the federal poverty level. People of color account for a disproportionate number of those seeking
abortion.
Mercado said the determination with which Florida Republicans passed Florida’s 15-week abortion ban earlier this year,
while neglecting legislation introduced to address skyrocketing rent, access to healthcare, and other quality of life issues
in the state, demonstrates a core contradiction in their stated values.


“While Republicans say that they’re ‘pro-life,’ they vote against life, day after day, when they refuse to address the
housing crisis, when they refuse to increase the minimum wage, and they refuse to expand Medicaid and access to
health   care,” said Mercado.

The group of  prosecutors who signed onto the joint statement by Just and Fair Prosecution, refusing to criminalize
abortion, say enforcing abortion bans would be a poor use of limited criminal justice resources. They add it could
potentially re-traumatize victims of sexual violence, and divide communities.
“To best promote public safety, prosecutors must be perceived by their communities as trustworthy, legitimate, and fair
—

   values that would be undermined by the enforcement of laws that criminalize deeply personal decisions,” the group
wrote.


Anti-abortion    opponents, CNN reports,  have derided the statement, calling the stance “anti-democratic.” Other
prosecutors    in states with abortion bans told CNN they'd evaluate prosecution of abortions on a case-by-case basis.


And Planned Parenthood told the news outlet they don’t know of an abortion provider who would continue to                     perform
abortions based on the state of a prosecutor’s statement alone without additional protections.
                                                                         —




The    impact of prosecutors’ statements on the criminalization of abortion will likely vary state by state.          Florida’s abortion
law,limiting most abortions to 15 weeks, is effective July 1st, provided a judge does not issue a temporary injunction on
Thursday.




                                                                                                                               DEF 000928
                                                                                                                                JEX 52.003
